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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

  E. JEAN CARROLL,                                    Civil Action No.: 1:20-cv-7311-LAK-JLC
                         Plaintiff,
         v.                                               NOTICE OF MOTION TO STAY
                                                               PENDING APPEAL
  DONALD J. TRUMP, in his personal capacity,

                         Defendant.



       PLEASE TAKE NOTICE that the defendant, Donald J. Trump (“Defendant”), hereby

moves this Court, before the Honorable Lewis A. Kaplan, United States District Judge for the

Southern District of New York, located at 500 Pearl Street, New York, NY 10007, on a date to be

set by the Court, for an order granting Defendant’s motion to stay this case pending resolution of

his appeal of this Court’s July 5, 2023 Order (ECF No. 173) under Rule 8(a)(1)(A) of the Federal

Rules of Appellate Procedure.

       This motion is supported by the annexed memorandum of law, any arguments or evidence

presented in reply, and all arguments or evidence presented at a hearing or with leave of Court.


Dated: New York, New York                            Respectfully submitted,
       July 27, 2023

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                                                     Michael T. Madaio, Esq.
                                                     HABBA MADAIO & ASSOCIATES LLP
                                                     1430 U.S. Highway 206, Suite 240
                                                     Bedminster, New Jersey 07921
                                                            -and-
                                                     112 West 34th Street, 17th & 18th Floors
                                                     New York, New York 10120
                                                     Telephone: (908) 869-1188
                                                     Facsimile: (908) 450-1881
                                                     E-mail: mmadaio@habbalaw.com
                                                     Attorneys for Defendant, Donald J. Trump

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